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, AO 472 (Rev. 3/86) Order of Detention Pending Trial




                                                                           District of
           UNITED STATES OF AMERlCA                                                                                                  201D APR -8 PM 5: 36
                                  V.                                                      ORDER OF DETENTION.~G lRJA.L
                    JORGE ARREAGA                                                                         v('rll..lt Uf tlit. tJLERK
                                                                                     Case Nwnber: 4:10MJ3012
                          Defendant
     In accordance with the Bail Refonn Act, 18 U.S.C. § 3 I 42(f), a detention hearing has been held. I conclude that the following facts require the
 detention of the defendant pending trial in this case.
                                                                    Part I-Findings of Fact
 o (I) The defendant is charged with an offense described in 18 U.S.c, § 3142(f)(1) and has been convicted ofa 0 federal offense 0 state
           or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed                that is
           o    a crime ofvioJence as defined in 18 U.S.C. § 31S6(a)(4).
           o an offense for which the maximum sentence is life imprisonment or death.
           o an offense for which a maximum tenn of imprisonment often years or more is prescribed in
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             a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
                § 3142(f)( I)(A)-(C), or comparable state or local offenses.
 o (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
 o (3) A period of not more than five years has elapsed since the 0 date of conviction Drelease ofthe defendant from imprisonment
       for the offense described in finding (l).
 o (4) Findings Nos. (I), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
           safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                      Alternative Findings (A)
 It   (I) There is probable cause to believe that the defendant has committed an offense
          )( for which a maximum tenn of imprisonment often years or more is prescribed in 21 U.S.C. Sec. 801 et seq.
          o under 18 U.S.C. § 924(c).
 )(   (2) The defendant has not rebutted the presumption established by finding I that no condition or combination ofconditions will reasonably assure
          the appearance ofthe defendant as required and the safety of the community.
                                                                      Alternative Findings (B)

?.~(l)
           There is a serious risk that the defendant will not appear.
      (2) There is a serious risk that the defendant will endanger the safety ofanother person or the community.




                                                 Part II-Written Statement of Reasons for Detention
     I find that the credible testimony and infonnation submitted at the hearing establishes by               Vclear and convincing evidence           ttfa prepon­
 derance of the evidence that                                                                                 r-                                     / \,.,.



                                                         Part III-Directions Regarding Detention
      The defendant is committed to the custody ofthe Attorney General or his designated representative for confinement in a corrections facility separate,
 to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
 reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
 Government, the person in charge ofthe corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
 in connection with a court proceeding.

                    April 8, 20 I 0                                                              sf Chery! R. Zwart
                        Date                                                                     Signature ofJudicial Officer
                                                                                             Cheryl R Zwart, u.s. Magistrate Judge
                                                                                               Name and Title ofJudicial Officer
 "'Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c)
 Section I of Act of Sept. 15, 1980 (21 U.S.C. § 9SSa).
